Entered: November 15th, 2017
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Signed: November 14th, 2017

SO ORDERED




                                         IN THE UNITED STATES BANKRUPTCY
                                           FOR THE DISTRICT OF MARYLAND


        In Re:
             Amir E. Dariani                                             Chapter 13

                                Debtor                            Case No. 17-17645


        ************************************

                   ORDER DIRECTING CHAPTER 13 TRUSTEE TO PAY COUNSEL FEES

                  UPON CONSIDERATION OF THE MOTION filed by                  Harris S.

        Ammerman, Esq. requesting that the Court direct the Chapter 13

        trustee to pay him for attorney’s fees following the Court’s

        Order Denying Confirmation of Chaper 13 Plan Without Leave to

        Amend and that the trustee is holding undisbursed funds that

        were collected while the debtor was in the Chapter 13 proceeding

        totaling $200.00, and good cause having been show, it is hereby

        by the Court
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    ORDERED, THAT the trustee shall pay to Harris S. Ammerman,

counsel for the debtor, the sum of $200.00 less the trustee’s

commission representing fees earned during the course of his

representation.

Harris S. Ammerman, Esq.
1115 Massachusetts Ave. NW
Washington, D.C. 20005

Nancy Grigsby, trustee
185 Admiral Cochrane Dr. Suite 240
Annapolis, MD 21401

Amir Dariani
502 King Farm Blvd Apt 304
Rockville, Md. 20850

                    End of Order
